 Case: 5:24-cv-00304-DCR        Doc #: 55     Filed: 05/12/25    Page: 1 of 3 - Page ID#:
                                            1481



                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                            LEXINGTON DIVISION


FORCHT BANK, N.A., KENTUCKY
BANKERS ASSOCIATION, and BANK
POLICY INSTITUTE,

                       Plaintiffs,                              No. 5:24-cv-304-DCR

                 v.

CONSUMER FINANCIAL PROTECTION
BUREAU and RUSSELL VOUGHT, in his
official capacity,

                       Defendants.



                        PLAINTIFFS’ RESPONSE TO
                THE FINANCIAL TECHNOLOGY ASSOCIATION’S
                     RENEWED MOTION TO INTERVENE

      Pursuant to the Court’s May 5, 2025 order, ECF No. 52, Plaintiffs respectfully

submit this response to the renewed motion to intervene filed by the Financial Technology

Association (FTA). See ECF No. 43.

      On March 26, 2025, the parties jointly requested an additional 60-day stay of

proceedings in this action to permit the CFPB’s new leadership to complete its review of

the Rule challenged in this case. ECF No. 42. The FTA filed its renewed motion to

intervene later that same day. The Court granted the 60-day stay on March 27, 2025,

ECF No. 45, which remains in effect other than for the limited purpose of allowing the

parties to respond to the FTA’s motion. Under the circumstances of this case, Plaintiffs
 Case: 5:24-cv-00304-DCR       Doc #: 55     Filed: 05/12/25    Page: 2 of 3 - Page ID#:
                                           1482



do not oppose the FTA’s participation in this matter to make arguments in defense of the

Rule, whether as an intervenor or an amicus.


                                               Respectfully submitted,



May 12, 2025


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                                            -2-
 Case: 5:24-cv-00304-DCR        Doc #: 55     Filed: 05/12/25   Page: 3 of 3 - Page ID#:
                                            1483



                             CERTIFICATE OF SERVICE

        I hereby certify that on May 12, 2025, I electronically filed this Response with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic
filing to all counsel of record.



                                                                /s/ Judson O. Littleton

                                                                Co-counsel for Plaintiffs
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                                             -3-
